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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 08-20117
                                                  )
GREGORY JORDAN,                                   )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Gregory Jordan filed a motion asking for an extension of time to file

a petition under 28 U.S.C. § 2255 (doc. 123). The one-year deadline for filing a § 2255

petition was set by Congress, an “any extension of this time period contravenes

Congress’ clear intent to accelerate the federal habeas process.” Washington v. United

States, No. 99-3383, 2000 WL 985885, at * 1 (10th Cir. July 18, 2000); see also United

States v. Duffus, 174 F.3d 333, 337-38 (3d Cir. 1999) (approving denial of motion to

amend habeas petition to add new claims because

       it would have frustrated the intent of Congress that claims under 28 U.S.C.
       § 2255 be advanced within one year after a judgment of conviction
       becomes final unless any of the other circumstances in 28 U.S.C. § 2255
       are applicable.... We reiterate that if the court permitted the amendment it
       would have acted contrary to the policy of the AEDPA, which requires
       courts to measure the running of the limitations periods from the date on
       which the judgment of conviction becomes final);
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United States v. Akers, No. 04-20089, 2008 WL 5109769, at *1 (D. Kan. Dec. 2, 2008).

Thus, a district court has no authority to grant an extension of time to file a § 2255

motion. See Green v. United States, 260 F.3d 78, 82 (2d Cir. 2001) (holding that a

“federal court would not have jurisdiction to consider [defendant’s] motion to extend

time”); see also Espinoza-Matthews v. California, 432 F.3d 1021, 1023-24 (9th Cir.

2005) (upholding the district court’s dismissal of petitioner’s motion for extension of

time to file a habeas petition for lack of jurisdiction, noting that because the petition had

not yet filed a habeas petition there was no case or controversy for the court to decide).

       Instead, judicial intervention is justified only under “extraordinary” or “rare and

exceptional” circumstances. Washington, 2000 WL 985885, at *2 (citing United States

v. Willis, 202 F .3d 1279, 1281 n.3 (10th Cir. 2000)). “[A]lthough the time limitation

under § 2255 is subject to equitable tolling, it is clear that the mere allegation of inability

of a prisoner to gather facts or gain access to documents due to lockdown status does not

justify equitable tolling.” Hunter v. Davis, No. 09-0827, 2009 WL 1810840, at *1 (D.

Colo. June 24, 2009) (citation omitted).



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s request

for an extension of time to file a petition under § 2255 is denied.


       IT IS SO ORDERED this 8th day of October, 2010.


                                      s/ John W. Lungstrum

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                           John W. Lungstrum
                           United States District Judge




                                  3
